Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 1 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 2 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 3 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 4 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 5 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 6 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 7 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 8 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 9 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 10 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 11 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 12 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 13 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 14 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 15 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 16 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 17 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 18 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 19 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 20 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 21 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 22 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 23 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 24 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 25 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 26 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 27 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 28 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 29 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 30 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 31 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 32 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 33 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 34 of 35
Case 18-02054-hb   Doc 9   Filed 05/17/18 Entered 05/17/18 17:30:48   Desc Main
                           Document      Page 35 of 35
